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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS

IN RE: TESTOSTERONE REPLACEMENT             CASE NO. 1:14-CV-01748
THERAPY PRODUCTS LIABILITY                  MDL 2545
LITIGATION
                                            JUDGE MATTHEW F. KENNELLY

                                            This Document Relates to:

                                            Konrad v. AbbVie,
                                            Case No. 1:15-cv-00966




            REPLY MEMORANDUM IN FURTHER SUPPORT OF
     DEFENDANTS’ RENEWED MOTION FOR JUDGMENT AS A MATTER
     OF LAW, OR ALTERNATIVELY FOR A NEW TRIAL OR REMITTITUR
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                                   PRELIMINARY STATEMENT
        Plaintiff’s opposition fails to identify substantial evidence in any of the several areas where

the verdict is unsupported. His experts’ opinions on case-specific causation remain facially

inadequate under the Court’s instructions and unsupported even by the studies that the experts

featured in their testimony at trial. And Plaintiff’s efforts to fill this gap with other evidence fail as

a matter of law (because causation can be established only through expert testimony) and as a

matter of fact (because none of the other evidence is tied to Mr. Konrad). Without causation, the

entire case fails. Nor can Plaintiff find a path to save his negligence claim. That claim is still

squarely blocked by the FDA’s precisely focused review of the science at the time Plaintiff was

warned in 2010, by Dr. Pence’s own admissions about the label, and by Dr. Overby’s clear

testimony as a learned intermediary that he understood TRT may increase CV risk. The testimony

of Plaintiff’s own experts likewise remains fatal to his misrepresentation and concealment claims.

Dr. Kessler outright conceded that the branded Patient Brochure and the “Shadow Ad” contained no

false statement of fact. His alternative opinion—that the Shadow Ad “implied” a symptom

benefit—is legally insufficient. The opinion is immaterial as well, inasmuch as symptomatic

benefits were stated explicitly in the approved label and in the Patient Brochure (with which Dr.

Kessler did not take issue). Finally, the record of disclosures to the FDA and its approval of

AndroGel labels remains dispositive of Plaintiff’s fraudulent concealment claims. There is simply

no evidence or even a claim that science was concealed from the FDA, which found that AndroGel

labels contained “adequate” information every time a label was approved.

        If this Court does not enter judgment for AbbVie, it should grant AbbVie’s motion for a new

trial. Plaintiff fails to resolve the inconsistency between the verdicts on strict liability and

negligence. Both claims required identically-defined proof that AndroGel was unreasonably

dangerous and that AndroGel caused Plaintiff’s heart attack. Yet the jury’s verdict on strict liability

found at least one of these requirements unmet, while its verdict on negligence differently found
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that both had been proven. And despite Plaintiff’s suggestions otherwise, it is well established that

the remedy for an irreconcilable inconsistency is a new trial on all claims.

         In the event that the Court neither enters judgment for AbbVie nor grants a new trial, it

should bring the punitive damages award into compliance with the Constitution and Illinois law.

The Constitution permits few awards exceeding a single digit ratio, and Plaintiff fails to address

controlling precedent that cases like this should be further limited to a 1:1 ratio. Nor does this case

remotely involve “reprehensible” conduct. AbbVie acted appropriately at all times, as confirmed by

its interactions with the FDA. There is no evidence that it concealed any science from the FDA.

AbbVie’s advertising was well-known to the FDA, reviewed when appropriate, and never the

subject of any FDA action during the period at issue. While AbbVie at times disagreed with the

FDA, it was transparent about its position. Even today, the FDA never has found that AbbVie did

not comply with its instructions or rules. And science still has not shown that TRT increases the

risk of major CV events. The punitive damages award merely confirms that Plaintiff succeeded in

inflaming the jury with views of science and AbbVie’s marketing activities that exist only inside the

courtroom. And they were improperly provoked to punish AbbVie, not for its conduct with respect

to Mr. Konrad, but for the 15-year history of marketing AndroGel. That provocation flouts the

Supreme Court’s clear instructions.

                                             ARGUMENT
                                    I.
          THE VERDICT WAS NOT SUPPORTED BY SUBSTANTIAL EVIDENCE

A.       PLAINTIFF FAILED TO PROVE BUT-FOR CAUSATION
         Plaintiff failed to present substantial evidence of but-for causation because: (1) Dr.

Cuculich never testified that, but for using AndroGel, Plaintiff would not have had a heart attack;

(2) Dr. Cuculich conceded that it was impossible for Plaintiff to have used AndroGel at the

prescribed dose; and (3) Dr. Ardehali admitted that none of the epidemiological evidence on which

he relied contained findings specific to Plaintiff’s age or irregular AndroGel usage pattern. (Mot.


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3.) Plaintiff is unable to rebut any of these critical failures of proof. (See Opp. 5-8.)

        Plaintiff claims he had to prove only that AndroGel “directly contributed” to his injury.

(Opp. 5.) Yet the Court’s instruction clearly states otherwise: “AbbVie’s product or conduct was a

cause in fact of Plaintiff’s heart attack if it directly contributed to his heart attack and without it his

heart attack would not have occurred.” (ECF 109 at 18 (emphasis added).) Plaintiff therefore had

to present substantial evidence meeting both of these standards. Plaintiff cites Dr. Cuculich’s

testimony about the amount of plaque in Plaintiff’s arteries and about potential alternative causes

(Opp. 5-6), but that testimony goes only to the “directly contributed” standard because none of it

identifies AndroGel as the necessary factor that caused Plaintiff to have a heart attack. 1 Plaintiff’s

argument that Dr. Cuculich need not use the phrase “but-for” (Opp. 6) misses the point. The point

is not language but substance, and Dr. Cuculich simply did not opine that Plaintiff’s “heart attack

would not have occurred” without AndroGel. Plaintiff’s failure to elicit that seemingly

straightforward testimony is fatal to his claims.

        Plaintiff tries to fill the gaps in Dr. Cuculich’s testimony with general causation evidence

(Opp. 7), but he never ties that evidence to the specific facts of his own case. He cites studies

finding increased CV risk from TRT use, 2 but his own minimal exposure to AndroGel places him

well outside the population covered by those studies. Plaintiff tries to solve this problem by citing

his own testimony that he used the drug every day for eight weeks, but no reasonable jury could

have believed that testimony in light of (i) Plaintiff’s admission that a 30-day supply could not have

lasted him 50 days, and (ii) Dr. Cuculich’s confirmation that it was physically impossible for


1
    Nor can Plaintiff rely on Dr. Cuculich’s testimony that AndroGel was a “substantial factor” in bringing about the
    heart attack to satisfy his burden on cause in fact. Under the instructions, “substantial factor” goes to proximate
    cause, not cause in fact. (Opp. 6 n.2; ECF 109 at 18.)
2
    Plaintiff’s reliance on Dr. Ardehali’s misinterpretation of the AndroGel clinical trial data (which was uncontestably
    debunked by Dr. Khera (Tr. 2845:24-2848:20)) does not solve this problem. That study made no findings of risk
    from exposures under 90 days. And no subjects in the study had a heart attack. (Tr. Exs. 3053, 3080; Tr. 1548:24-
    1549:9.) Evidence that testosterone or estradiol levels increased in the study is immaterial for the same reason and
    because Plaintiff presented no evidence that his own testosterone or estradiol levels increased when he was exposed
    to the drug.


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Plaintiff to have used AndroGel at the prescribed dose. (Tr. 1627:4-22; 1800:13-1802:17.) Even e

weeks of use would not put him in any of the groups where studies have found an increased risk.

B.       PLAINTIFF FAILED TO PROVE NEGLIGENCE
         The Court instructed the jury that Plaintiff’s strict liability and negligence claims required

proof of both unreasonable danger and causation. (ECF 109, at 12-13.) The instructions also were

clear that the “unreasonably dangerous” standard could not be met if AbbVie’s warnings were

adequate. (Id. at 15.) The jury returned a verdict for AbbVie on Plaintiff’s strict liability claim,

reflecting Plaintiff’s failure to prove either or both of unreasonable danger and causation (see infra

§ II.A). The record shows that neither of the two requirements was supported by sufficient

evidence, and this is fatal to Plaintiff’s negligence claim as well.

                1.      Plaintiff Failed to Prove Unreasonable Danger
         It is undisputed that the FDA repeatedly examined the scientific evidence of CV risk from

TRT, including an extensive review conducted almost precisely when Plaintiff was prescribed

AndroGel. The FDA determined as late as May 2013 that there was no CV safety issue, and no

need was found for any change to the warnings until 2015. (See Mot. 5-6 & n.8.)

         In response, Plaintiff contends that all of the FDA’s actions were predicated on its view that

the AndroGel indication was confined to classical hypogonadism. (See Opp. 9.) But there was no

evidence that any of the FDA’s scientific assessments of risk were based on the distinction between

classical and non-classical patients. Indeed, (1) there was no evidence that the cause of a patient’s

hypogonadism is associated with increased CV risk; (2) Dr. Ardehali was barred from testifying to

such an opinion because no such evidence exists to support it (e.g., CMO 46, at 35), and (3) Dr.

Pence herself admitted that the FDA made no distinction between men who had classical vs. non-

classical hypogonadism in its review of the Basaria study in May 2010, when Plaintiff was

prescribed AndroGel (Tr. 2472:22-2473:6). Accordingly, FDA’s approval of AndroGel’s label

disproves Plaintiff’s claim that the label’s warnings were inadequate.



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        Dr. Pence also admitted that the labeling in 2010 already contained a warning of potential

heart attack risk. (Mot. 6.) Plaintiff argues otherwise, pointing out that the label did not literally

contain the phrase “heart attack” (Opp. 8), but Dr. Pence admitted that the warning about

“thromboembolic events” was broader and encompassed heart attacks as well as other CV events.

(Tr. at 2443:13-2444:7.) This testimony also undercuts Plaintiff’s reliance on Dr. Pence’s opinion

that adverse event reports would have justified adding the CV risk warning in 2007. The broader

thromboembolic event warning was added in 2009, before Plaintiff’s injury in 2010. 3

        Plaintiff’s failure-to-test theory does not solve these problems. As the instructions stated,

Plaintiff cannot recover for “failure to test” without proving that AndroGel was unreasonably

dangerous, that AndroGel had inadequate warnings, and that those inadequate warnings caused

Plaintiff’s injury. (See ECF 109, at 13.) Accordingly, any so-called “failure to test” theory suffers

from the same evidentiary deficiencies as the failure-to-warn claim that subsumes it. In all events,

Plaintiff’s contention that AbbVie marketed AndroGel to a larger group of men than it was tested

for (Opp. 10) is entirely irrelevant, as nothing in the record suggests that the scope of the indication

constrains the scope of monitoring for and detecting a post-marketing safety signal, which in turn

drives warnings. (See Tr. 632:9-18; 1454:25-1455:5, 1485:16-1486:19, 1567:7-13, 2344:22-24,

2999:3-3000:3.) Rather, the consistent testimony—from both sides—is that adverse events are

scrutinized for their relationship to use of the product, period. (E.g., Tr. 1460:12-1461:6, 2351:1-

15.) Etiology of hypogonadism is simply not a criterion for safety assessments. Moreover, Dr.

Ardehali conceded that the FDA knew about all of the epidemiological science, mechanism studies,

and MedWatch forms that he relied upon for his warnings opinions. (Tr. 1489:2-1491:6, 1492:17-

1493:7, 1494:1-11.) 4

3
    See also Tr. at 2457:1-2458:20 (Dr. Pence admitting that the company and FDA could not find a safety signal as of
    April 2008); Tr. at 2477:20-2478:17 (admitting that, even after Plaintiff’s heart attack, AbbVie and the FDA agreed
    the label was adequate and AndroGel did not increase CV risk).
4
    The same record demonstrates Plaintiff’s failure to present sufficient evidence that AbbVie had a duty to conduct a
    long-term, placebo-controlled trial before seeking FDA approval, or to run a large CV safety study until 2015.
    Here, too, it is undisputed that long term safety studies are not done routinely and are triggered by confirmation of a

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        2.       Plaintiff Failed to Prove Causation
        Tennessee’s independent knowledge doctrine bars any finding of causation in this case

because Dr. Overby independently believed at the time of Plaintiff’s prescription that AndroGel

may increase the risk of heart attack. (Mot. 6.) Plaintiff argues that Dr. Overby’s understanding

was limited to the hematocrit mechanism. (Opp. 9-10.) This misses the point yet again: The

question is whether he believed that there was a potential CV risk and that a warning could be given

to the patient. The record confirms that Dr. Overby did in fact have such an understanding. What

the mechanism might be adds nothing to the analysis, because doctors advise patients based on risk

and benefit, not theoretical mechanisms. 5 Nor does Plaintiff’s further reliance on the Court’s earlier

ruling that the learned intermediary doctrine did not warrant summary judgment come to grips with

the independent knowledge doctrine. The independent knowledge doctrine focuses exclusively on

whether Dr. Overby knew of the risk of Plaintiff’s injury. 6 He did. 7


    safety signal. (Trial Ex. 3094; Tr. 632:9-18, 1487:10-13, 1567:7-13; 2812:23-2813:5, 2999:3-3000:9.) Plaintiff’s
    further contention that Mr. Wojtanowski and Mr. Miller admitted that AbbVie conducted “no testing for safety and
    efficacy in age-related men” is misleading and inapposite. It is misleading in that Mr. Miller stated only that no
    large-scale CV risk study was conducted (as opposed to safety being tested in men with age-associated
    hypogonadism, which was done), and Mr. Wojtanowski stated only that the trials were not placebo-controlled.
    (Opp. 10.) It is inapposite because Mr. Miller’s sole relevant testimony on the duty to test was that CV safety
    studies are not done routinely, and that the CV studies discussed in his slide presentation were predicated not on a
    safety signal but on a concern that TRTs were being stigmatized and may actually have cardiovascular benefit. (Tr.
    1158:1-19, 1184:12-1187:21)
5
    Plaintiff suggests that the label instruction to monitor hematocrit was insufficient because other potential
    mechanisms by which AndroGel might cause a heart attack were not explicitly mentioned in the label. (Opp. 9-10.)
    But Plaintiff concedes that those other mechanisms cannot be monitored. (Id.) Telling doctors to look out for
    mechanisms that cannot be observed makes absolutely no sense. Notably, Plaintiff’s evidence was that the 2015
    label change concerning potential CV risk should have been made earlier. But that change says nothing about
    mechanisms. (See Trial Ex. 3270.7.)
6
    See, e.g., Collins v. Danek Med., Inc., 1999 WL 644813, at *9 (W.D. Tenn. Mar. 23, 1999) (“[B]ecause Dr. Wood
    was independently aware of all of the risks and dangers of the Luque device, any alleged failure to warn was not the
    proximate cause of Collins' injury.”); Harden v. Danek Med., Inc., 985 S.W.2d 449, 452 (Tenn. Ct. App. 1998)
    (granting summary judgment for defendant when plaintiff’s doctor “was fully aware of the risks involved [and] did
    not rely upon certain literature distributed or sponsored by the defendant in making his determinations” because
    “defendant’s alleged failure to warn plaintiff is not considered to be the proximate cause of plaintiff’s injury under
    this doctrine”).
7
    Nor does the record show that, if he had been told of the potential increased risk of heart attack, Plaintiff would
    have decided to act against Dr. Overby’s recommendation that he take AndroGel (see Tr. 1602:25-1603:4 (Q.
    “[Y]ou trusted him to weigh the risks and benefits of medications before prescribing them to you, right?” A:
    “Yes.”); 1621:4-20 (testifying that he believed safety information in the label was “for my doctor,” so he did not
    read it); see also (Overby Test. Tr., Ex. 1, 138:18-139:17; id. 197:8-21 (Dr. Overby testifying that he warned
    patients of heart attack risk in 2010); Tr.1626:22-24.)


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C.       PLAINTIFF FAILED TO PROVE HIS MISREPRESENTATION CLAIM
         Plaintiff also failed to present substantial evidence that (1) AbbVie made a false statement of

material fact, or (2) Plaintiff and/or his physician Dr. Overby justifiably relied on any such

statement. (Mot. 7-10.) Again, Plaintiff has no answer to these critical failures of proof.

         Plaintiff cites a wide range of testimony purportedly showing misrepresentations, but the

only relevant statements for purposes of this case are ones that Plaintiff himself actually saw. At

trial, Plaintiff testified that he saw two pieces of advertising: a branded brochure he received from

Dr. Overby (Trial Ex. 2000.) and the unbranded television commercial known at trial as the

“Shadow Ad.” 8 (Trial Ex. 209.1.) Dr. Kessler admitted that neither of these materials contained a

false statement and that their contents were consistent with applicable labeling at the time. (E.g. Tr.

881:2-9.) Dr. Kessler could offer only an alternative opinion that the Shadow Ad was misleading

because it discussed “implied health benefits” but omitted risk information. 9 (Tr. 813:3-9, 815:7-

13.) This testimony is insufficient as a matter of law. The law requires a false statement of fact, not

merely an allegedly misleading implication. And, in this case, the allegedly misleading implication

is significant only for regulatory purposes, i.e., that, under FDA regulations, statements of product

benefits must be accompanied by risk information (which does not apply for disease awareness

ads). Any violation of such a regulation is irrelevant under the Court’s instructions. (See ECF 109,

at 19 (FDA instruction); Mot. 18.)

         Plaintiff offers the theory that mentioning symptomatic improvement in advertisements

amounts to a false statement because AbbVie did not study this in men with age-related

hypogonadism. This theory is directly contradicted by the clinical trial documents, the FDA-

approved text in the AndroGel 1% label which describes the findings of symptom improvement

8
     Plaintiff’s opposition cites four documents that purportedly contain false statements. (Opp. 13.; Opp. Exs. 6-9.)
     But of the four documents he cites, he received only one (the AndroGel brochure), and therefore cannot
     demonstrate that he relied on the other three.
9
     To the extent that Plaintiff relies on Dr. Kessler’s testimony that the Shadow Ad contained falsehoods because it
     “omitted the approved indication,” (Opp. 13.) Plaintiff cannot contend that his knowledge of the indication would
     have changed his decision to use AndroGel when he received the full AndroGel label at the time of his prescription.
     (Trial Ex. 2000.)


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(including in patients with age-related hypogonadism), the FDA’s review of ad content describing

symptom improvement in 2000 (which content carried through 2010), and Dr. Kessler’s admission

that he had no problem with the patient brochure provided to Mr. Konrad, which again described

symptom improvement benefits. (Tr. 881:2-9; Tr. Exs. 2000.3-5, 3049.130-131, 3050, 3148.10). 10

          Plaintiff argues that Dr. Overby’s “overwhelming exposure” to marketing materials, in

addition to his “specific actions” of purportedly prescribing AndroGel to treat fatigue, effectively

amounts to reliance. (Opp. 14.) This argument conflates exposure and reliance. Exposure to

statements is not reliance on them. And Dr. Overby specifically disclaimed any reliance on

marketing materials, let alone reliance on any purportedly false statements contained therein, in

deciding to prescribe AndroGel to treat Mr. Konrad’s hypogonadism. (Mot. 10.)

          Nor could a reasonable jury have found for Plaintiff on his new theory that Dr. Overby

treated him for fatigue because it was “a symptom that AbbVie targeted” in its marketing. (Opp.

13-14.) Dr. Overby’s testimony and medical records undisputedly demonstrated: (1) he conducted

a full workup of Plaintiff’s symptoms and complaints (Mot. 10); (2) he diagnosed Plaintiff with

secondary hypogonadism and prescribed AndroGel for that purpose (Mot. 9); and (3) he tested

Plaintiff for elevated clotting risk before finally deciding to prescribe AndroGel (Tr. 1588:2-9).

D.        PLAINTIFF FAILED TO PROVE FRAUDULENT CONCEALMENT
          AbbVie’s initial brief demonstrated that Plaintiff could not point to any material omission

that he or his physician relied upon, and thus failed to present substantial evidence to support

fraudulent concealment. (Mot. 11-12.) Plaintiff concedes that AbbVie’s representations to the

10
      Plaintiff speculates that the jury could have concluded that AbbVie’s alleged off-label promotion to men falsely
      implies that AndroGel has been proven safe or effective for men with age-related hypogonadism. (Opp. 11-13.)
      Yet none of AbbVie’s marketing materials actually stated that AndroGel is safe and effective for men with age-
      related hypogonadism. And “implications” are not misrepresentations under the instructions and were not
      substantiated in fact. Plaintiff also does not respond to AbbVie’s argument that additional information on age-
      related hypogonadism would not have changed his decision to use AndroGel, given the undisputed fact that
      Plaintiff was never diagnosed with age-related hypogonadism, and he presented no evidence that he should be
      included in that category of patients. (Mot. 9, 12.) Plaintiff’s further argument that marketing materials claiming
      AndroGel was safe were false because AbbVie did not conduct “a [placebo]-controlled study to evaluate [] long-
      term safety” (Opp. 11-12) is meritless because the FDA repeatedly concluded that the clinical trials were sufficient
      to prove safety and efficacy, without the need for a long-term safety trial. (See supra § B.1.)


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FDA were not deceptive, but tries to distinguish AbbVie’s representations to patients and doctors.

(Opp. 14-15.) Plaintiff fails, however, to identify any statement to patients and doctors that was not

also made to the FDA. Moreover, Plaintiff ignores the elephant in the room on disclosure: the

AndroGel label itself discloses information on risk, benefit, and clinical testing (as well as the

indication itself). Since 2000, FDA has approved this disclosure, including the testing data, as

adequate. (Trial Ex. 3046.) Plaintiff identified no material omissions from the AndroGel labeling

or medication guide that he received. Nor could he have relied on any such omission because he

never read the label. As to disclosures in advertising, Dr. Kessler conceded that AbbVie’s

marketing too was consistent with the FDA-approved label. 11 (See Mot. 8-9.) Plaintiff provides no

response to AbbVie’s other points that he failed to prove the reliance and causation elements of

fraudulent concealment.
                                      II.
               ALTERNATIVELY, THE COURT SHOULD ORDER A NEW TRIAL

A.        PLAINTIFF FAILS TO RECONCILE THE VERDICTS ON STRICT LIABILITY
          AND NEGLIGENCE

          Plaintiff argues that the verdicts can be reconciled because strict liability “focuses on” the

product, whereas negligence “focuses on” AbbVie’s conduct, and because causation means

something different for each claim. (Opp. 16.) Plaintiff is wrong. Regardless of what the tortious-

conduct element of each claims “focuses on,” the causation question is always the same—viz.,

whether AndroGel caused Plaintiff’s heart attack. Indeed, the jury was given the exact same

causation instruction for all of Plaintiff’s claims. (ECF 109, at 18). Likewise, the Court gave the

11
      This also disposes of Plaintiff’s argument that AbbVie concealed important safety information from patients and
      doctors because the Shadow Ad allegedly omitted certain points about risk. It simply did not need to, because both
      Mr. Konrad and Dr. Overby received the label itself, the Med Guide, and the patient brochure (which repeatedly
      told the reader to read the label). (Tr. 1494:8-11, 1495:9-11, 2442:21-2443:25, 2477:20-2478:17.)
      Plaintiff’s argument that changes to the 2015 AndroGel label prove that the label Plaintiff received in 2010
      purposely omitted material facts about CV safety and age-related hypogonadism is contrary to the law (which
      predicates liability on what was known and reasonably knowable at the time) and to the undisputed facts, which
      established the FDA’s repeated conclusions that the label adequately reflected the scientific evidence available at
      the time. (Mot. 11.) No possible signal emerged either for the FDA or from AbbVie until years after the events at
      issue in this case.


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same instruction on “unreasonably dangerous” for both the negligence and strict liability claims.

Accordingly, the only remaining question is whether the jury could have found that all of the

elements of negligence were met, including unreasonable danger and cause in fact, but still could

have found that the elements of strict liability were not. 12 The answer is clearly no. A simple

syllogism demonstrates the inconsistency:

          1. As just discussed, both the negligence claim and the strict liability claim required
             Plaintiff to prove that (1) “AndroGel was unreasonably dangerous” and (2) “AbbVie’s
             product or conduct was a cause in fact and legal cause of Mr. Konrad’s heart attack.”
             (ECF No. 109 at 12–13; see id. at 15, 18 (defining elements identically for both claims)).
          2. The “unreasonably dangerous” and “causation” elements were the only strict liability
             elements disputed at trial. 13
          3. Thus, in finding against Plaintiff on his strict liability claim, the jury necessarily
             concluded that one or both of these elements was not met, and yet in finding for Plaintiff
             on his negligence claim, the jury necessarily concluded that both elements were
             satisfied.
The jury’s inconsistent conclusions on these identically defined elements thus cannot be reconciled.

          Plaintiff’s reliance on Connelly v. Hyundai Motor Co., 351 F.3d 535, 542 (1st Cir. 2003)—a

wrongful death case under New Hampshire law, where a jury found a car manufacturer liable for

negligence but not for strict liability—is misplaced. In that case, the Court examined the elements

of each claim and found significant differences between them. The Court specifically noted that,

unlike the strict liability claim, the negligence claim did not require plaintiff to prove a design

defect, and that a design defect was defined differently under the two claims. Id. at 541. The many




12
      See, e.g., Van Stan v. Fancy Colours & Co., 125 F.3d 563, 571 (7th Cir. 1997) (no inconsistency where “[d]ifferent
      elements make up” the claims); Sizer v. Rossi Contractors, 2002 WL 1559694, at *4 (N.D. Ill. July 16, 2002) (no
      inconsistency between claims with “distinct elements,” as jurors “could have found plaintiff established the
      elements of an emotional distress claim, but not the elements of a discrimination claim”); Frain v. Andy Frain, Inc.,
      660 F. Supp. 97, 99 (N.D. Ill. 1987) (inconsistency after comparison and analysis of respective elements).
13
      Plaintiff suggests it is “self-serving[]” for AbbVie to note that these were the only disputed elements so that the jury
      verdict must have pertained to one or both of them (Opp. 16), but Plaintiff has not pointed to a single transcript
      excerpt, exhibit or filing in which AbbVie disputed any other element of strict liability. See Oja v. Howmedica,
      Inc., 111 F.3d 782, 791-92 (10th Cir. 1997) (inconsistency where “elements of defectiveness and causation were
      common” and “were essentially the only elements disputed at trial”).


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other cases in Plaintiff’s string cite are distinguishable for similar reasons. 14 Where, as here, the

jury reached different results on claims with overlapping elements, the inconsistency is fatal. 15

B.        THE REMEDY FOR THE INCONSISTENCY IS A NEW TRIAL
          Plaintiff argues that, even if there is an inconsistency, the Court may strike the inconsistent

portion of the verdict. (Opp. 17.) But that is not the remedy for an irreconcilable inconsistency.

This Court has itself observed: “If we cannot [reconcile inconsistent verdicts]. . . . the appropriate

remedy is a new trial on all claims.” Deloughery v. City of Chicago, 2004 WL 1125897, at *2 (N.D.

Ill. May 20, 2004) (Kennelly, J.) (quoting EEOC v. Mid–Continent Security Agency, Inc., 2001 WL

800089, at *2 (N.D. Ill. July 12, 2001) (Kennelly, J.)), aff’d, 422 F.3d 611 (7th Cir. 2005)).

          To support his argument to the contrary, Plaintiff cites American Casualty Company of

Reading, Pennsylvania v. B. Cianciolo, Inc., 987 F.2d 1302 (7th Cir. 1993), where the jury found



14
      See Talkington v. Atria Reclamelucifers Fabrieken BV, 152 F.3d 254 (4th Cir. 1998) (finding claims had distinct
      elements and turned on different standards); Sterner v. U.S. Plywood-Champion Paper, 519 F.2d 1352 (8th Cir.
      1975) (dated decision under Iowa law contains only cursory statement on inconsistency; instructions not available
      online; decision prompted concurrence and was later questioned in Randall v. Warnaco, 677 F.2d 1226, 1232 (8th
      Cir. 1982), which “recognize[d] that the verdicts in Sterner may seem inconsistent and irreconcilable”); In re Vioxx
      Prods. Liab. Litig., 523 F. Supp. 2d 471 (E.D. La. 2007) (one sentence finding no inconsistency under South
      Carolina law; MDL filings show negligence claim did not require unreasonable dangerousness); id. ECF No. 8673
      at 16-17; Ramirez v. E.I. DuPont de Nemours & Co., 579 Fed. Appx. 878 (11th Cir. 2014) (addressing distinct
      argument that verdict was inconsistent because jury found defect but no causation); State Farm v. W.R. Grace &
      Co., 834 F. Supp. 1052 (C.D. Ill. 1993) (negligence claim did not require unreasonable dangerousness); Densberger
      v. United Tech., 125 F. Supp. 2d 585 (D. Conn. 2000) (no inconsistency due to instruction “that [defendant] could
      be held liable for breaching a post-sale duty to warn on the plaintiffs’ negligence theory of liability . . . but not
      under the plaintiffs’ strict liability” theory); Grant v. Westinghouse Elec., 877 F. Supp. 806 (E.D.N.Y. 1995)
      (“‘negligent failure to warn’ charge would permit the jury to conclude . . . that Westinghouse was negligent after
      the product was released . . . [yet] a failure to warn under a strict products liability scenario . . . necessarily would
      include a determination that the product was defective when it left the manufacturer’s hands.”); Randall, 677 F.2d
      1226 (court, in dicta, found it “conceptually impossible to say that a verdict for the defendant in a strict liability
      count always disposes of plaintiff’s negligence claim based on the same alleged defect, unless one assumes that to
      be negligent the conduct of the manufacturer must render the product unreasonably dangerous in the strict liability
      sense”); Trull v. Volkswagen, 320 F.3d 1 (1st Cir. 2002) (strict liability required defective design yet negligence
      required either negligent design or testing).
15
      See, e.g., Oja, 111 F.3d at 791–92 (“Despite the theoretical differences . . . . [T]he elements of defectiveness and
      causation were common . . . . [And] these two elements were essentially the only elements disputed at trial. To find
      for [plaintiff] on her negligent failure to warn claim, the jury had to find that the PCA hip was defective at the time
      of sale and caused her injuries. To find for [defendant] on [plaintiff’s] strict liability claim, the jury had to find that
      the PCA hip was either not defective at the time of sale or did not cause her injuries. Given these parameters, we
      hold that the verdict for [plaintiff] on her negligent failure to warn claim and the verdict for [defendant] on
      [plaintiff’s] strict liability failure to warn claim were facially inconsistent. Accordingly, we vacate the judgment of
      the district court and order a new trial.”).


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that an insured party submitted fraudulent claims but also that the insurance company handled those

claims in bad faith. The Court found the verdict reconcilable: “[P]erhaps the insured committed

fraud but the insurer did not detect that problem, denying the claims for some other, and

illegitimate, reason.” Id. at 1305. As a secondary way to resolve the inconsistency, the Court

struck the bad faith finding, not because it was inconsistent, but because it was not supported by the

evidence: “A judge may dissipate the inconsistency by setting aside one of the conflicting verdicts,

if that verdict was unsupported by the evidence.” Id. By striking an unsupported finding, the Court

rendered the verdict consistent. But the Court did not hold that a court may “cure” an inconsistency

by simply throwing out one of the verdicts without actually finding it “was unsupported by the

evidence.” 16 Instead, the Court observed that “[i]nconsistency produces a new trial.” 17

                                    III.
        ALTERNATIVELY, THE COURT SHOULD REDUCE THE PUNITIVE AWARD

          For reasons set forth in AbbVie’s moving brief and reviewed further below in connection

with the reprehensibility requirement, 18 Plaintiff’s punitive damages award should be stricken in its

entirety, and if not stricken, should be reduced in accordance with clear and dispositive Supreme

Court precedents. Plaintiff’s opposition ignores the constitutional ratio limitation on punitive

damages, comparable civil penalties, and similar limitations under Illinois law. Instead, he spends

the bulk of his punitive damages section cherry-picking and misapplying reprehensibility factors.

           In attempting to defend the $140,000,000 punitive damages award in this case, which is

1,000x the compensatory award, Plaintiff fails to address the constitutional rule that “few awards

exceeding a single-digit ratio” are allowed. State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S.


16
      Nor does Plaintiff concede that any portion of the verdict is unsupported by the evidence such that it could be
      stricken.
17
      AbbVie maintains for purposes of this motion and appeal that a new trial is further warranted due to jury instruction
      errors, erroneous evidentiary rulings, and because the verdict is against the weight of the evidence. (Mot. 16-22.)
18
      Plaintiff’s opposition provides no substantive response to the argument in AbbVie’s moving brief that Plaintiff
      failed to present substantial evidence sufficient to support an award of punitive damages. (Compare Mot. 12-15,
      with Opp. 15.) AbbVie therefore focuses its response herein on the issue of reprehensibility.


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408, 425 (2003). 19 Nor does he address the principle that a 1:1 ratio is appropriate where a

compensatory award is substantial and contains a punitive element. Id. at 425–26; Mendez-Matos v.

Guaynabo, 557 F.3d 36, 55 (1st Cir. 2009). The $140,000 compensatory award here is substantial

and already contains a punitive element in the form of an award for emotional distress. 20 By

ignoring AbbVie’s argument that the substantial compensatory award and its inclusion of emotional

distress requires a 1:1 ratio, Plaintiff has waived any opposition to the argument. See Wojtas v.

Capital Guardian Tr. Co., 477 F.3d 924, 926 (7th Cir. 2007). Plaintiff’s cases regarding a larger

permissible ratio are all distinguishable. 21 And Plaintiff’s assertion that AbbVie’s conduct affected

“millions” of other men (Opp. 23) conflicts with the Supreme Court’s instructions in Philip Morris

USA v. Williams, 549 U.S. 346 (2007). Under the applicable law in the circumstances present here,

any punitive damage award should not exceed the jury’s $140,000 compensatory award.

          AbbVie also demonstrated in its moving brief that comparable civil penalties require a

substantial reduction of the punitive award, and that in addition to federal constitutional limitations,

Illinois state law also requires a substantial reduction. (Mot. 24-25.) Plaintiff entirely ignores these

points, and makes no attempt to distinguish the numerous authorities cited in support of them.


19
      See Test for excessiveness—Size of verdict—Ratios, 2 Punitive Damages: Law and Prac. 2d § 18:6 (2017 ed.)
      (collecting cases in which “courts have begun to heed the single-digit multiplier rule”); Applying constitutional
      doctrine to the products liability context, 3 Owen & Davis on Prod. Liab. § 26:42 (4th ed.) (“courts have more
      closely focused on the ratio of punitive damages to compensatory damages”) (collecting cases).
20
      See, e.g., Mendez-Matos, 557 F.3d at 55 (finding $35,000 compensatory award “amply” compensated plaintiff for
      mental distress); Bains LLC v. Arco Prod. Co., 405 F.3d 764, 776 (9th Cir. 2005) (finding $50,000 compensatory
      award “substantial” and remanding for reduction of $5 million punitive award to single-digit ratio); In re Bayside
      Prison Litig., 331 F. App'x 987, 993 (3d Cir. 2009) (calling $45,000 compensatory award “substantial”).
21
      See TXO Prod. Corp. v. All. Res. Corp., 509 U.S. 443, 472 (1993) (Scalia, J., concurring in the judgment)
      (supplying the decisive votes in a case that preceded State Farm and noting that the Court’s consideration of
      “potential,” as opposed to “actual,” harm—a concept not applicable here—meant that the decision only permitted a
      10:1 ratio); Kemp v. Am. Tel. & Tel. Co., 393 F.3d 1354, 1357, 1363 (11th Cir. 2004) (allowing larger ratio where
      compensatory award was only $115.05 in light of the Supreme Court’s observation that “in some situations a higher
      ratio may be appropriate where a ‘particularly egregious act has resulted in only a small amount of economic
      damages’”) (quoting State Farm, 538 U.S. at 425)); In re Estate of Hoellen, 854 N.E.2d 774, 779 (Ill. App. Ct.
      2006) (allowing larger ratio where only one dollar had been awarded); Lewellen v. Franklin, 441 S.W.3d 136, 148
      (Mo. 2014) (allowing larger ratio in light of “the particularly egregious conduct and the relatively small amount
      [$25,000] of compensatory damages”); see also In re Actos (Pioglitazone) Prod. Liab. Litig., 2014 WL 5461859, at
      *55 (W.D. La. Oct. 27, 2014) (although permitting 25:1 ratio, reducing punitive damages award to 1/244th of the
      jury’s award, and settling prior to appeal).


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Accordingly, Plaintiff has acquiesced to those arguments. See Wojtas, 477 F.3d at 926.

       Turning to reprehensibility, two indisputable facts undermine any suggestion that AbbVie’s

conduct was so reprehensible as to merit an award of punitive damages, much less an award of the

extraordinary magnitude at issue here: (1) AbbVie was completely transparent with the FDA,

disclosing all available scientific evidence regarding CV risk, its different interpretation of the

indication, branded ads (as required under FDA regulations) and even unbranded materials (which

were well known to the FDA in any event) (Mot. 13); and (2) still today, science has not established

any causal relationship between TRT and increased CV risk, either in the scientific literature or in

the eyes of the FDA (Mot. 5–7 n.8). Indeed, the most recent scientific evidence not only shows no

increased CV risk, but a potential CV benefit, from TRT use (E.g. Tr. 1996:9–1997:7). On these

facts, there simply is no basis to find that AbbVie’s actions were so reprehensible as to justify this

massive punitive damages award. See, e.g., In re Prempro Prod. Liab. Litig., 586 F.3d 547, 571–72

(8th Cir. 2009) (affirming judgment as a matter of law for defendant on punitive damages in part

because defendant “did not conceal or restrict the dissemination of [safety] information”); Hagen v.

Richardson-Merrell, Inc., 697 F. Supp. 334, 339–40 (N.D. Ill. 1988) (granting summary judgment

for defendant on punitive damages where “the existence of [the alleged risks at issue] had not been

demonstrated conclusively”); Kopczick v. Hobart Corp., 721 N.E.2d 769, 776, 779 (Ill. App. Ct.

1999) (reversing award of punitive damages where plaintiff could not establish defendant’s

knowledge of an “unreasonably dangerous” product).

       Plaintiff seeks to distract attention from these dispositive facts by emphasizing that he

suffered a serious injury. (Opp. 23.) But nearly every products liability case involves physical

injury, so that alone cannot meaningfully impact the analysis. And in this case, Plaintiff’s heart

attack fortunately was not fatal, and he quickly recovered.

       Plaintiff also argues that AbbVie disregarded safety through age-related marketing, failure

to conduct a long-term CV study, and in its labeling. (Opp. 23.) Yet AbbVie received specific


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guidance from the FDA on what it could or could not say in its marketing regarding age-related

hypogonadism and never crossed the line. The fact that FDA never took action against a single ad

speaks volumes. FDA approval may not be dispositive on liability, but it should certainly be on

reprehensibility. Nor do allegations of age-related marketing apply to Plaintiff, who was diagnosed

with secondary hypogonadism associated with his obesity. Supra § C.; see State Farm, 538 U.S. at

422–23 (punitive damages may not rest on conduct that bears no relation to plaintiff’s harm). With

respect to testing and labeling, the FDA deemed the AndroGel safety studies adequate (Trial Exs.

3043.6, 3046.2, 3180.10), and found that its label warned of all known risks (Trial Ex. 3223.6).

AbbVie’s compliance with the FDA’s marketing, testing, and labeling oversight demonstrates that

its conduct was not reprehensible. 22 And because Plaintiff’s position depends on the notion that

AbbVie knew AndroGel was unsafe in July 2010, it bears repeating that to this day, science does

not show that AndroGel increases CV risk.

          Plaintiff also asserts (without citing the record) that he was “vulnerable,” and emphasizes

that AbbVie has $5.6 billion in net worth. (Opp. 23-24.) As AbbVie established in its moving

brief, however, a company’s net worth cannot justify an excessive award. (Mot. 25.) That is

particularly so in the MDL context, as AbbVie faces potential liability to thousands of plaintiffs and

so under-deterrence because of unlitigated claims is not an issue—a factor recognized under Illinois

law that Plaintiff entirely sidesteps. 23 AbbVie also did not evince “intentional malice, trickery, or

deceit,” nor engage in “repeated” fraud. 24

                                                   CONCLUSION
          In sum, AbbVie respectfully requests that the Court vacate the punitive damages award and
enter judgment in its favor, or alternatively, grant a new trial or reduce the punitive damages award.

22
      See, e.g., Prosser and Keeton on Torts, § 36 at 233 n.41 (5th ed. 1984); Roginsky v. Richardson-Merrell, Inc., 378
      F.2d 832, 840-41 (2d Cir. 1967) (Friendly, J.) (“A manufacturer distributing a drug to many thousands of users
      under government regulation scarcely requires” [punitive damages])
23
      See Hazelwood v. Illinois Cent. Gulf R.R., 450 N.E.2d 1199, 1208 (Ill. App. Ct. 1983).
24
      See Roboserve, Inc. v. Kato Kagaku Co., 78 F.3d 266, 276 (7th Cir. 1996) (“To justify punitive damages, the
      allegedly outrageous conduct must ‘involv[e] some element of outrage similar to that usually found in a crime.’”).


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                                       CERTIFICATE OF SERVICE

       I, David Bernick, hereby certify that on December 22, 2017, the foregoing document was

filed via the Court’s CM/ECF system, which will automatically serve and send email notification of

such filing to all registered attorneys of record.

                                                          /s/ David Bernick
                                                              David Bernick




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